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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

OSVALDO ROCHE,

      Plaintiff,

vs.                                      CASE NO.:

THE LINCOLN NATIONAL
LIFE INSURANCE COMPANY,

      Defendant.
                                     /

                                 COMPLAINT

      COMES NOW the Plaintiff, OSVALDO ROCHE, (“Roche”), by and through

the undersigned attorney, and sues the Defendant, THE LINCOLN NATIONAL

LIFE INSURANCE COMPANY (“Lincoln”) and alleges as follows:

                         GENERAL ALLEGATIONS

      1.    This is an action for relief under the Employee Retirement Income

Security Act (“ERISA”), as amended, 29 U.S.C. §§1001, et seq.

      2.    This Court has jurisdiction pursuant to 29 U.S.C. §1132(e).

      3.    This Court has venue pursuant to 29 U.S.C. §1132(e). In particular, in

ERISA actions, venue is proper where the performance of the Plan terms was to

take place. Benefits here were to be paid at Roche’s home address in Ocoee,

Florida. See Exhibit “A” attached hereto.
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      4.     Roche is and/or was a participant in each of the plans, funds,

programs or arrangements described herein.

      5.     Roche was an employee of Apple Inc. (“Apple” or “Employer”) and

as such he was insured through a group disability policy issued to Apple by

Lincoln.

      6.     The Employer is the Plan Sponsor and Plan Administrator of the

employee welfare benefit plan providing long term disability benefits.

      7.     The “Plan” is a welfare benefit plan established under ERISA to

provide long term disability benefits to those participants who satisfy the terms and

conditions of the Plan to receive such benefits.

      8.     A copy of what purports to be a document describing benefits payable

under the Plan is attached hereto as Exhibit “B”.

      9.     Lincoln is the claims administrator, it makes the “full and fair” final

review of claims and it insures the payment of benefits under the Plan.

      10.    Lincoln denied and/or terminated Roche’s claim finding that he was

not disabled under the terms of the Plan. Lincoln’s last denial letter is dated

October 27, 2022.

      11.    With respect to the claims made herein, Roche has exhausted his

administrative remedies and/or exhaustion has been excused or is waived.

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                                   COUNT I
               (Action for Plan Benefits 29 U.S.C. §1132(a)(1)(B))

      Roche incorporates the allegations contained in paragraphs 1 through 11

above, and further states:

      12.    The Plan provided for the payment of long term disability benefits in

the event Roche became disabled as defined in the Plan. The Plan also provided

for the continuation of other benefits in the event of disability. The other benefits

are described with particularity in the applicable plan documents for those plans.

      13.    Roche was and is disabled as defined by the Plan at all times material

hereto.

      14.    Roche made a claim for Plan benefits. Said claim for benefits was

terminated or denied.

      15.    Roche is entitled to Plan benefits.

      16.    Lincoln has failed and refused to pay Roche sums due pursuant to the

terms of the Plan, breaching the terms of said Plan.

      17.    Because of the failure to pay benefits pursuant to the terms of the

Plan, Roche has been forced to retain the undersigned attorneys and is obligated to

pay them a reasonable attorney’s fee. Roche is entitled to recover attorney’s fees

as authorized by 29 U.S.C. §1132(g).

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      WHEREFORE, plaintiff, Roche, prays for relief from defendant, Lincoln for

the payment of disability benefits, reinstatement to all other benefits, including the

waiver of premiums as if benefits had never been terminated or denied, plus

attorney’s fees and costs and any other such further relief as the Court deems

proper.

Date: November 11, 2022

                                             /s/Gregory D. Swartwood
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